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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
MELCINA BLANTON,                     )
      Plaintiff,                     )
                                     )
      v.                             )
ROUNDPOINT MORTGAGE SERVICING CORP., )                      Case No. 15 CV 3156
and LOCKE LORD LLP                   )
                                     )
      Defendants.                    )
  DEFENDANTS’ MOTION TO INCLUDE QUESTIONING ABOUT THE IDENTITY
      AND CONTACT INFORMATION OF “DR. TEN” AT THE UPCOMING
               EVIDENTIARY HEARING IN THIS MATTER

        The Court’s April 3, 2018 Order found that Plaintiff had engaged in sanctionable conduct

by failing to disclose several relevant witnesses. (Dkt. No. 181). As part of that Order, the Court

ordered “plaintiff to provide to defendants within three days of the date of [the] Order whatever

contact information she has with respect to the individual previously referred to in this litigation

as her husband.” (Id.). Plaintiff failed to comply with the Order, and as a result, the Court is

preparing to conduct an evidentiary hearing regarding the relationship between Plaintiff and this

mystery individual as well as the contact information and whereabouts of the individual.

        Plaintiff’s failure to disclose material witnesses goes beyond her concealment of the man

previously referred to as her husband. It also includes her failure to disclose the physician who is

purportedly referenced in the complaint. According to Plaintiff’s deposition testimony that

physician is named “Dr. Ten.” Immediately after Dr. Ten was disclosed at Plaintiff’s deposition,

Defendants requested his address and contact information from Plaintiff’s counsel. To date that

request has been ignored. Further, Defendants have conducted several online searches in an

attempt to locate any physician with the name Dr. Ten, but so far have not found any doctor with

that name in Chicago. Because Plaintiff concealed the identity of Dr. Ten, and has refused to

provide his address or contact information since her belated disclosure, the scope of the


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evidentiary hearing should be expanded to include testimony regarding Dr. Ten, the location of

his practice and his contact information.

                                            ARGUMENT

        Defendants served Plaintiff with an interrogatory explicitly requesting the “names,

addresses, and telephone numbers of all persons who have or are believed to have knowledge

and/or information relating to the allegations in the Complaint, and the damages allegedly

suffered by” Plaintiff. See Defendants’ interrogatories to Plaintiff at interrogatory No. 2 attached

as Exhibit 1. Plaintiff did not identify Dr. Ten in response to that interrogatory. See Plaintiff’s

responses to interrogatories attached as Exhibit 2. However, at her deposition, Plaintiff testified

that Dr. Ten is the doctor referenced in paragraph 63 of her complaint, which is the only factual

assertion of damages allegedly suffered by Plaintiff throughout the entire complaint. Dkt. No.

177, Plaintiff’s deposition transcript at 154:12-156:1. In other words, Dr. Ten is both

knowledgeable about “the allegations in the Complaint, and the damages allegedly suffered by”

Plaintiff. Ex. 1 at interrogatory No. 2. Immediately after Plaintiff’s deposition, counsel for

Defendants emailed counsel for Plaintiff requesting Dr. Ten’s contact information. See March 8,

2018 email attached as Exhibit 3. Consistent with Plaintiff’s discovery practices in this case, that

email was summarily ignored.

        There is no legitimate excuse as to why this physician was not disclosed back in January

2017 when Plaintiff provided her interrogatory responses, and there is certainly no excuse for

Plaintiff failing to provide the contact information after he finally was disclosed at her

deposition. Plaintiff claims that she did not identify Dr. Ten as an individual with knowledge

about her claims because when it came time to answer Defendants’ interrogatories “it slipped

[her] mind.” Dkt. No. 177, 151:3-4. In response to Defendants’ motion for discovery sanctions,

Plaintiff back peddled from that position and instead claimed that she did not disclose Dr. Ten

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because she did not find disclosing him “necessary to list as an Interrogatory response” because a

different doctor would be able to support her claims for damages. Dkt. No. 171 at p. 8. Plaintiff’s

flip-flopping and evasive conduct cannot continue undeterred.

        As set out in detail in Defendants’ motion for sanctions (Dkt. No. 149), reply (Dkt. No.

168) and sur-reply (Dkt. No. 178), discovery is a truth seeking process that encompasses more

than just disclosing individuals that can help a party’s case. Plaintiff’s refusal to comprehend that

her discovery obligations include the disclosure of documents and information that may be

harmful to her assertions of damages is why an evidentiary hearing is happening in the first

place. Plaintiff does not get to pick and choose which of her treating physicians will provide

testimony in this matter. It is entirely possible, and Defendants think it is actually likely, that Dr.

Ten will provide testimony that contradicts Plaintiff’s claim of damages.

        Defendants were prejudiced by Plaintiff’s decision to conceal Dr. Ten during the

discovery process because they were unable to seek Plaintiff’s medical records form Dr. Ten,

were unable to prepare to question Plaintiff about her purported visit to Dr. Ten, and are now

unable to locate Dr. Ten (if he exists) to question him about his interaction with Plaintiff. More

importantly, Plaintiff will not suffer any prejudice from having to answer a few questions about

the location of Dr. Ten’s office and providing his contact information; again discovery is a truth

seeking process and according to Plaintiff Dr. Ten has information that will allow the parties to

discover the truth about Plaintiff’s visit with Dr. Ten.




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                                         CONCLUSION

        For all of the reasons set out above, Defendants should be able to ask Plaintiff about Dr.

Ten’s contact information and location of his practice under oath at the upcoming evidentiary

hearing.

DATED: April 16, 2018                                 RoundPoint Mortgage Servicing Corporation and
                                                      Locke Lord LLP

                                                      By:    /s/ David F. Standa
                                                             One of Their Attorneys
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                                CERTIFICATE OF SERVICE

       I, David F. Standa, an attorney, certify that I caused the foregoing Motion to be served
upon all persons and entities authorized and registered to receive such service through the
Court’s Case Management/Electronic Case Files (CM/ECF) system on April 16, 2018.




                                                            /s/David F. Standa




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